        Case 2:18-cv-01636-AKK Document 21 Filed 10/18/19 Page 1 of 1                     FILED
                                                                                 2019 Oct-18 AM 10:05
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

CATALINA P. JIMENEZ,                         )
                                             )
      Plaintiff,                             )
                                             )
v.                                           )      CASE NO.:
                                             )      2:18-cv-01636-AKK
ROCO REAL ESTATE,                            )
                                             )
      Defendant.                             )


                                     ORDER

      Consistent with the parties’ Joint Stipulation of Dismissal, doc. 20, this case

is DISMISSED WITH PREJUDICE. Each party to bear her or its own costs. The

Clerk is DIRECTED to close this file.

      DONE the 18th day of October, 2019.


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                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE
